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 4   Telephone: (916) 554-2772
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 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,      )        CR. NO. S-07-165-LKK
                                    )
12              Plaintiff,          )        STIPULATION AND ORDER
                                    )        CONTINUING STATUS CONFERENCE
13        v.                        )        FOR DEFENDANT DANIEL ROSALES
                                    )
14   JESUS FERNANDO VEGA, et al.,   )
                                    )        Date: April 7, 2009
15              Defendants.         )        Time: 9:15 a.m.
     _______________________________)        Court: Hon. Lawrence Karlton
16
17        Whereas, there is currently a status conference set on April
18   7, 2009, at 9:15 a.m.;
19        Whereas, both the prosecutor will need additional time to
20   confirm certain facts necessary for the preparation of the
21   proposed plea agreement and that task is made more difficult and
22   time consuming because some of the evidence to be reviewed is in
23   the Spanish language;
24        Whereas, both the prosecutor and defense counsel will need
25   additional time to resolve the details of a proposed plea
26   agreement;
27        Whereas, defense counsel will need additional time to
28   explain the ramifications of the plea agreement to his client,

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 1   defendant Daniel Rosales; and
 2         Whereas, defense counsel is currently involved in a state
 3   trial that will make it more difficult for him to meet with his
 4   client and make defense counsel unavailable for a change of plea
 5   hearing for Daniel Rosales until mid-May 2009,
 6         IT IS HEREBY stipulated between plaintiff United States of
 7   America, on the one hand, and defendant Daniel Rosales, on the
 8   other hand, by and through their respective undersigned counsel,
 9   that the previously set April 7, 2009, at 9:15 a.m., status
10   conference shall be continued to May 19, 2009, at 9:15 a.m.
11         It is further stipulated and agreed between the parties that
12   the time period from the date of this stipulation, April 3, 2009,
13   through and including May 19, 2009, shall be excluded from
14   computation of time within which the trial of the above criminal
15   prosecution must commenced under the Speedy Trial Act on the
16   grounds that the failure to grant the requested continuance would
17   deny both respective counsel for the prosecution and the defense
18   reasonable time necessary for effective preparation taking into
19   account the exercise of due diligence as described in this
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 1   stipulation.      Both parties stipulate and agree that this is an
 2   appropriate exclusion of time within the meaning of Title 18,
 3   United States Code, Section 3161(h)(8)(B)(iv), and Local Code T4.
 4   Dated:     April 3, 2009                   Respectfully submitted,
 5                                                 /s/ Philip Cozens
 6
                                                 PHILIP COZENS
 7                                               Attorney for defendant
                                                 Daniel Rosales
 8                                               (per phone authorization
                                                 from Geri of Philip Cozens’
 9                                               Law Office)
10
                                                 LAWRENCE G. BROWN
11                                               Acting United States Attorney
12
                                                 By: /s/Samuel Wong
13
                                                    SAMUEL WONG
14                                                  Assistant U.S. Attorney
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 1                                     ORDER
 2        Based on the stipulation of the parties and good cause
 3   appearing therefrom, the Court hereby adopts the stipulation of
 4   the parties in its entirety as its order.
 5        Based on the stipulation of the parties and good cause
 6   appearing therefrom, the Court hereby finds that the failure to
 7   grant a continuance in this case would deny counsel for the
 8   United States and defense counsel reasonable time for effective
 9   preparation taking into account the exercise of due diligence.
10   The Court specifically finds that the ends of justice served by
11   the granting of such continuance outweigh the interests of the
12   public and the defendant in a speedy trial.
13        The current April 7, 2009, 9:15 a.m., status conference
14   shall be continued to May 19, 2009, at 9:15 a.m.
15        The time period from the date of the parties’ stipulation,
16   April 3, 2009, through and including May 19, 2009, shall be
17   excluded from computation of time within which the trial of the
18   above criminal prosecution must commenced under the Speedy Trial
19   Act under Title 18, United States Code, Section
20   3161(h)(8)(B)(iv), and Local Code T4.
21        IT IS SO ORDERED.
22   Dated: April 6, 2009
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